                      IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF ALASKA


MIKE TOYUKAK, et al.,

                              Plaintiffs,
               v.

BYRON MALLOTT, 1 et al.,

                              Defendants.
                                                    Case No. 3:13-cv-00137-SLG



                         STIPULATED JUDGMENT AND ORDER

       I.     PREAMBLE AND REMEDIES

       WHEREAS, Plaintiffs filed this action to enforce the statutory guarantee of

language assistance for limited-English proficient (LEP) Alaska Native, United States

(U.S.) voting-age (18 years of age and older) citizens under Section 203 of the Voting

Rights Act (VRA), 52 U.S.C. § 10503 (redesignated from 42 U.S.C. § 1973aa-1a) (Section

203), and the voting guarantees of the Fourteenth and Fifteenth Amendments of the

United States Constitution, and to obtain injunctive and declaratory relief pursuant to

Section 3 of the VRA, 52 U.S.C. § 10302 (redesignated from 42 U.S.C. § 1973a), and 28

U.S.C. § 2201; and

       WHEREAS, Plaintiffs contend that Defendants have failed to provide effective

language assistance to LEP Alaska Native voting-age citizens in the Dillingham Census




1
 Pursuant to Fed. R. Civ. P. 25(d), Lieutenant Governor Byron Mallott was automatically
substituted as a party defendant as the successor in office to Mead Treadwell.




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Area (DCA), Wade Hampton Census Area (WHCA), and Yukon-Koyukuk Census Area

(YKCA) of Alaska; and

       WHEREAS, the Court has jurisdiction over this action pursuant to 28 U.S.C. §§

1331 & 1343(a)(3)-(4), and 52 U.S.C. § 10308(f) (redesignated from 42 U.S.C. § 1973j(f))

and venue is appropriate under 28 U.S.C. § 1391(b); and

       WHEREAS, Plaintiffs are two individual LEP Yup’ik-speaking Alaska Native U.S.

citizens of voting-age who are registered to vote or are eligible to register to vote and

reside in the DCA and WHCA and four tribal councils in the DCA, WHCA, and YKCA that

are the elected governments for their respective villages, which include LEP Yup’ik-

speaking or Gwich’in-speaking Alaska Native voting-age U.S. citizens who are registered

to vote or are eligible to register to vote in federal and state elections; and

       WHEREAS, Defendants, in their official capacities, are the Lieutenant Governor of

the State of Alaska, the Director of the Division of Elections for the State of Alaska, and

the Region III and Region IV Supervisors who are responsible under Alaska law for

conducting elections in the DCA, WHCA, and YKCA and are collectively referred to as

“the Division of Elections” or “the Division”; and

       WHEREAS, the Division administers all federal, statewide, and Regional

Educational Attendance Area (REAA) elections in the DCA, WHCA, and YKCA; and

       WHEREAS, this Stipulated Judgment and Order (“Stipulated Judgment” and/or

“Order”) is entered into by and between Plaintiffs and Defendants, hereinafter referred to

jointly as the “Parties;”

       WHEREAS, this Order takes effect upon issuance by this Court (the “Effective

Date”); and

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       WHEREAS, the DCA, WHCA, and YKCA have been continuously covered under

either Section 4(f)(4) of the VRA and/or Section 203 of the VRA since October 22, 1975,

40 Fed. Reg. 49,422 (Oct. 22, 1975); 28 C.F.R. § 51, App.; and

       WHEREAS, it is undisputed that Section 203 applies to the villages in these three

census areas for the Yup’ik (in the DCA and WHCA) and Gwich’in (in the YKCA)

languages; and

       WHEREAS, in the most recent Section 203 coverage determinations, coverage for

Yup’ik was triggered in the DCA (see Dep’t of Commerce, Bureau of the Census, Voting

Rights Act Amendments of 2006, Determinations Under Section 203 (2011 Coverage

Determinations), 76 Fed. Reg. 63,602 (Oct. 13, 2011) (to be codified at 28 C.F.R. pt. 55)),

and on November 1, 2011, the United States Department of Justice notified Defendants

that Section 203 coverage of the DCA was triggered by the villages of Aleknagik, Clarks

Point, Dillingham, Ekwok, Manokotak, Koliganek, New Stuyahok, Togiak, and Twin Hills;

and

       WHEREAS, the most recent Section 203 coverage determinations triggered

coverage for Yup’ik in the WHCA (see 2011 Coverage Determinations), and on November

1, 2011, the United States Department of Justice notified Defendants that Section 203

coverage of the WHCA was triggered by the villages of Alakanuk, Algaaciq, Andreafsky

(St. Mary’s), Chevak, Emmonak, Hooper Bay, Kotlik, Marshall, Mountain Village, Nunam

Iqua, Pilot Station, Pitkas Point, Russian Mission, and Scammon Bay; and

       WHEREAS, the most recent Section 203 coverage determinations triggered

coverage for Alaskan Athabascan (including Gwich’in) in the YKCA (see 2011 Coverage

Determinations), and on November 1, 2011, the United States Department of Justice

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notified Defendants that Section 203 coverage of the YKCA was triggered by the villages

of Allakaket, Beaver, Fort Yukon, Galena, Grayling, Holy Cross, Hughes, Huslia, Kaltag,

Koyukuk, Minto, Nenana, Nulato, Ruby, Shageluk, and Tanana all for Alaskan

Athabascan, and Defendants acknowledge and agree that Section 203 coverage applies

to Arctic Village and Venetie; and

       WHEREAS, according to the census data underlying the 2011 Coverage

Determinations, the DCA has 2,050 U.S. citizens of voting-age who speak Yup’ik,

approximately 18.3 percent of whom are LEP, and the illiteracy rate among those LEP

voters is about 32 percent; and

       WHEREAS, according to the census data underlying the 2011 Coverage

Determinations, the WHCA has 3,195 U.S. citizens of voting-age who speak Yup’ik,

approximately 16.1 percent of whom are LEP, and the illiteracy rate among those LEP

voters is about 21.4 percent; and

       WHEREAS, according to the census data underlying the 2011 Coverage

Determinations, the YKCA has 2,665 U.S. citizens of voting-age who speak Alaskan

Athabascan, approximately 6.4 percent of whom are LEP, and the illiteracy rate among

those LEP voters is about 14.7 percent; and

       WHEREAS, the 2011 Coverage Determinations were “effective upon publication

in the Federal Register” and are not “subject to review in any court” (52 U.S.C. §

10503(b)(4) (redesignated from 42 U.S.C. § 1973aa-1a(b)(4))); and

       WHEREAS, the DCA, WHCA, and YKCA have not bailed out from coverage under

Section 203 pursuant to Section 203(d) of the VRA, 52 U.S.C. § 10503(d) (redesignated

from 42 U.S.C. § 1973aa-1a(d)); and

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       WHEREAS, following the Court’s decision on the law of the case [Dkt. 124], this

case proceeded through a two-week trial that concluded on July 3, 2014, and resulted in

a partial Decision on Record issued by the Court on September 3, 2014 [Dkt. 223], and

an Interim Order issued by the Court on September 22, 2014, to implement relief for the

November 4, 2014 General Election [Dkt. 226]; and

       WHEREAS, the Parties want to collect reliable information about the conduct of

elections in Alaska and the language assistance provided and to provide this information

to the Court; and

       WHEREAS, Defendants do not admit and specifically deny liability on all claims

and do not concede the Court’s holdings were correct, but to avoid protracted and costly

litigation, the Parties have conferred in good faith and agreed that this lawsuit should be

resolved through the terms of this enforceable Order. Accordingly, the Parties hereby

freely and voluntarily consent to the entry of this Order, after having an opportunity to

confer with legal counsel, as indicated by the signatures of the Parties and/or their

respective counsel; and

       WHEREAS, Defendants enter into this Order in good faith and will take all

reasonable actions to accomplish the goals specified herein; and

       WHEREAS, in exchange for the terms of this Order, Plaintiffs agree to dismiss

their claim under the Fourteenth and Fifteenth Amendments to the United States

Constitution and their request for relief under Section 3(c) of the Voting Rights Act, and

waive further hearings and entry of findings of fact on the constitutional claim and on their

request for Section 3(c) relief, without prejudice to Plaintiffs’ right to rely on the underlying

facts and findings of this case; and

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       WHEREAS, the Parties stipulate that each provision of this Order is appropriate

and necessary;

       It is hereby ORDERED, ADJUDGED, AND AGREED that:

       1.      The Court finds this Order is “fair, reasonable and equitable and does not

violate the law or public policy,” Sierra Club v. Elec. Controls Design, Inc., 909 F.2d 1350,

1355 (9th Cir. 1990), including the requirements of the Voting Rights Act, and the Court is

“satisfied that the [Order] represents a ‘reasonable factual and legal determination,’”

United States v. Oregon, 913 F.2d 576, 581 (9th Cir. 1990) (internal cite omitted),

consistent with the Court’s previous decisions in this case including the Decision on the

law of the case, the partial Decision on Record, and the Order re: Interim Remedies

(Interim Order) after a trial on the merits of Plaintiffs’ claims. [Dkts. 124, 223, 226]

       2.      The Court adopts the background and terms as set forth herein and enters

the relief as set forth herein.

       3.      Pursuant to Rule 65 of the Federal Rules of Civil Procedure, the

Defendants, the Division, its agents, employees, contractors, successors, and all other

persons acting in concert with or on behalf of the Division, are permanently enjoined from

violating the requirements of Section 203 in the DCA, WHCA, and YKCA and are ordered

to implement the remedial terms identified in this Order.

       4.      The terms of this Order are final and binding and shall apply to all federal,

state, and local elections administered by Defendants, the Division, and its agents,

employees, contractors, successors, and all other persons acting in concert with or on

behalf of the Division. Whenever Defendants or the Division enter into an election

services contract with any other person, entity, political subdivision, or political party to

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conduct an election on behalf of that entity, Defendants shall require such person or entity

to agree to abide by the terms of this Order as if such person or entity were a party to this

Order, and consistent with the responsibility of each person or entity to comply fully with

Section 203 of the Voting Rights Act.

        5.     The terms of this Order shall supersede any and all conflicting and

inconsistent policies, practices, or procedures pertaining to the subject matter of this

Order that are used by Defendants, the Division, and its agents, employees, contractors,

successors, and all other persons acting in concert with or on behalf of the Division.

        6.     No term of this Order shall be construed for or against either party because

it has been negotiated by the Parties and represents the Parties’ mutual agreement.

        7.     This Order shall remain in effect from the Effective Date through December

31, 2020, unless the Court modifies that term. The requirements of this Order shall apply

in the DCA, WHCA, and YKCA (as to Gwich’in only in the YKCA) from the Effective Date

through December 31, 2020, without regard to any changes in Section 203 coverage as

a result of any determinations that may be made by the Director of the Census and/or the

Attorney General of the United States or the U.S. Department of Justice during the Order’s

term.

        8.     Notwithstanding the Effective Date, the remedies ordered herein do not

apply to the 2015 REAA election, 2 except that: (a) the 2015 REAA election will be




2       The 2015 REAA election will occur on October 6, 2015, approximately one month after
the Effective Date. The Parties agree that the Division will not have sufficient time to implement
the other remedies in this Order by the 2015 REAA election.

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conducted in substantial compliance with the Court’s Interim Order of September 22,

2014 [Dkt. 226)]; (b) Defendants shall submit a post-election report pursuant to Paragraph

III(R)(2)(b) that covers all of the information required in the Interim Order, identifying by

paragraph all information being reported; and (c) Paragraph I(10), providing for

appointment and authorization of Election Observers, goes into effect as of the Effective

Date.

        9.     At any time after entry of this Order, either party may petition this Court for

an Order to enforce the terms of this Order, request clarifications or instructions, and/or

apply for any other appropriate relief.

        10.    Pursuant to Section 3(a) of the VRA, 52 U.S.C. § 10302(a) (redesignated

from 42 U.S.C. § 1973a(a)), during the term of this Order, Election Observers are

appointed and are authorized to attend and observe elections and election activities that

federal law authorizes, including training, in the DCA, WHCA, and YKCA.

        11.    Entry of this judicially approved settlement agreement is considered a final

judgment on the merits.

        12.    Defendants shall implement the improvements in language assistance

identified in this Order.

        13.    This Stipulated Judgment represents the entire agreement between the

Parties. Any other oral or written representations or agreements of any kind concerning

the subject matter of this Stipulated Judgment are of no force or effect.




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       14.      This Stipulated Judgment may be executed in counterparts, each of which

shall constitute an original, and all of which shall constitute one and the same agreement.

       15.      The Court shall retain jurisdiction of this action through December 31, 2020

to enter further relief or such other orders as may be necessary to effectuate the terms of

this Order and to ensure compliance with Section 203 of the Voting Rights Act and the

guarantees of the Fourteenth and Fifteenth Amendments to the United States

Constitution.

       16.      If any party, before December 31, 2020, shall commence proceedings either

to seek compliance with this Order or to seek other relief pursuant to this Order, including

but not limited to relief necessary to implement the Order, to modify one or more of its

terms, or to extend the term (duration) for which the Order is in effect, the Court shall

retain jurisdiction over this case until all issues relating to such proceedings have been

fully resolved.

II.    THE COURT’S PRIOR DECISIONS IN THIS CASE

       On July 19, 2013, Plaintiffs filed their Complaint. On June 4, 2014, before trial of

this matter, the Court issued a Decision on Record to establish the law of the case to be

applied in its consideration of Plaintiffs’ claims. [Dkt. 124] On September 3, 2014, after a

two-week trial of this matter, the Court issued a partial Decision on Record in favor of

Plaintiffs on their claim under Section 203 of the Voting Rights Act. The Court took under

advisement Plaintiffs’ constitutional claim under the Fourteenth and Fifteenth

Amendments. [Dkt. 223] At the Court’s direction [Dkt. 223 at 22], Defendants [Dkt. 224]

and Plaintiffs [Dkt. 225] each provided input on the scope of interim relief to be

implemented for the November 4, 2014 General Election. On September 22, 2014, after

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considering the Parties’ respective submissions, the Court entered an Order granting

interim relief for that election. [Dkt. 226].

III.    REMEDIES AGREED TO BY THE PARTIES

        A.     Adjustments to the Interim Order of September 22, 2014 [Dkt. 226]

               1.     Paragraph 4 of the Interim Order [Dkt. 226] is modified to include in

the Official Election Pamphlet (OEP) the following information:

                      (a)     Language assistance is available for all information in the

        OEP;

                      (b)     Voters are entitled to help, in their village dialect, with all

        information in the OEP;

                      (c)     A summary of pre-election language assistance available,

        including VHF radio announcements, community meetings, voter registration and

        absentee ballot assistance opportunities;

                      (d)     An explanation to voters that help is available both on and

        before Election Day; and

                      (e)     A toll-free number for voters to determine the identity of

        bilingual workers in the voter’s village and when events are scheduled. The identity

        of all bilingual workers, listed by village, shall be on a document that can be

        referenced by Division staff for any calls that they receive, and this information will

        be made available to any voter upon request.

               2.     Paragraphs 5 and 19 of the Interim Order [Dkt. 226] are modified as

follows:

                      (a)     Certificates of Outreach will be modified to add in confirmation

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        that the outreach worker has made himself or herself available to translate the

        OEP, knows how to translate and agrees to translate the OEP, and has conducted

        at least one informational meeting with voters in their village or met with voters on

        a one-on-one basis;

                      (b)     The Division will provide outreach workers with a list of dates

       by which each of their assigned tasks should be completed;

                      (c)     Each outreach worker will complete and return the Certificate

       of Outreach; and

                      (d)     If the outreach worker fails to complete the Certificate of

       Outreach, the Division may confirm by telephone the tasks that the outreach

       worker has completed and the dates of completion, preparing their confirmation

       under penalty of perjury.

               3.     Paragraph 6 of the Interim Order [Dkt. 226] providing for a cover

letter to the tribal councils accompanying election materials and asking that tribal

members be informed is modified to also require that the Division:

                      (a)     Disseminate all written voting materials identified in the Order;

       and

                      (b)     Explain how the voting materials are to be used and

       disseminated by the tribal council.

               4.     Paragraphs 7-10 of the Interim Order [Dkt. 226] shall be completed

at least thirty days before each election. The dates on the posters will be modified to cover

the specific election.



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               5.     Paragraphs 11-13 of the Interim Order [Dkt. 226] are modified to

reflect that those materials will be included with the Election Day supplies sent to poll

workers approximately three weeks before each election.

               6.     Paragraph 14 of the Interim Order [Dkt. 226] is modified as follows:

                      (a)     Shall include the Gwich’in audio and materials as well as

       Yup’ik audio and materials that have been prepared by the Division; and

                      (b)     Shall be posted on the website at least three weeks before the

       election.

               7.     Paragraph 15 of the Interim Order [Dkt. 226] is modified as follows:

                      (a)     The identified election materials shall be disseminated before

       each primary, general, or special election for which the Division disseminates an

       OEP;

                      (b)     The entire OEP must be translated into written Gwich’in and

       Yup’ik (with the dialectical differences identified in Paragraph III(B)(1) noted) and

       distributed at least twenty-two days before any election for which the Division

       disseminates an OEP, except that candidate statements (federal and state offices

       and judicial candidates) and Judicial Council recommendations will be translated

       only if they are received by the Division at least thirty days before the applicable

       statutory deadline. The Division shall include an instruction to candidates and to

       the Judicial Council that: (a) encourages candidate statements and Judicial

       Council recommendations be provided to the Division according to this schedule

       for candidates running for offices that are on the ballot in the DCA, WHCA, and

       YKCA; and (b) states that the statements or recommendations must be filed with

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       the Division at least thirty days before the applicable statutory deadline if they wish

       to have their statement or recommendation translated.

               8.     Paragraph 17 of the Interim Order [Dkt. 226] shall be modified to

       require at least one trained bilingual outreach worker and one bilingual poll worker

       required for each village and to also provide:

                      (a)     Defendants shall verify the language abilities of each bilingual

       outreach worker or poll worker to confirm they are fluent and literate in English and

       the covered language/dialect, both oral and written, but it shall be sufficient

       verification for Defendants, without limitation, to obtain written confirmation from

       the tribal council that the outreach worker or poll worker has these qualifications;

                      (b)     Defendants will endeavor to use workers recommended by

       the tribal council. If no worker is identified by the tribal council, then Defendants

       will identify and recruit a worker who is bilingual and literate in English and the

       covered language/dialect, both oral and written;

                      (c)     To the extent it has not already determined the language

       abilities of a bilingual worker, the Division will confirm the worker’s language

       abilities by: (1) having a qualified person who speaks the language/dialect

       converse with the worker in the language/dialect; and (2) ask the worker to read

       out loud voting materials translated into the language/dialect;

                      (d)     Each worker shall agree in writing their willingness to serve as

       a bilingual worker and indicate that they feel comfortable providing the translations

       and language assistance. If the worker fails to agree in writing, the Division may



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       confirm by telephone the worker has agreed to serve as a bilingual worker,

       preparing their confirmation under penalty of perjury;

                      (e)     The tribal councils may recommend to the Division that a

       bilingual poll worker be replaced;

                      (f)     The Division and the tribal council shall collaborate in

       determining whether the person recommended by the tribal council will be used as

       a bilingual worker;

               and

                      (g)     Subparagraph (a) above does not absolve the Division of any

       obligations it has under Section 203 of the VRA.

       B.      Dialects

               1.     Yup’ik in the DCA and WHCA. The Yup’ik Translation Panel (YTP)

shall accommodate the following dialects of Yup’ik in its translation of all voting materials

and election information in the DCA and WHCA: Bristol Bay Yup’ik (BB); Central Yup’ik

(GCY); Hooper Bay/Chevak Yup’ik (HBC); Norton Sound Yup’ik (NS); and Yukon Yup’ik

(Y). In addition, if a tribal council in the WHCA requires materials in the Nunivak dialect,

it must inform Defendants by March 1 of the same year and the Defendants shall provide

such materials. The dialect to use for each village in the DCA and WHCA shall be

determined by the YTP, and the tribal council(s) in the WHCA may also request the

dialect(s) they believe are most understandable for their village(s). Tribal council requests

are limited to the dialects specified in this paragraph and, if submitted to Defendants by

June 1 of the same year, shall be honored.



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               2.     Gwich’in in the YKCA. The Gwich’in Translation Panel (GTP) shall

use Gwich’in in its translations of all voting materials and election information.

       C.      Glossaries of Election Terms

               1.     The Yup’ik glossary shall be updated to include common election

terms that appear on forms and instructions or on ballots that do not presently appear in

the glossary. On or about January 15, 2016, Plaintiffs shall provide the Division with a list

of any other terms they believe should be included in the glossary. The YTP shall review

updates to the glossary and identify any additional words to be added to the glossary.

The Division shall complete the initial update on or about June 1, 2016, with additional

updates to follow as the YTP determines appropriate.

               2.     A glossary shall be prepared by the GTP in Gwich’in using the same

set of common election terms in the updated Yup’ik glossary. This requirement shall be

completed on or about July 1, 2016.

       D.      Toll-Free Number for Language Assistance

               1.     Defendants’ voting materials shall reflect that language assistance is

available in the covered languages and dialects as identified in Paragraph III(B).

               2.     Defendants will have available at least one bilingual translator for

each language and dialect spoken in the DCA, WHCA, and YKCA as identified in

Paragraph III(B) to provide language assistance by phone.

               3.     Defendants shall promptly arrange a call between the voter and an

appropriate translator, depending upon the language and dialect of the voter who is

calling.



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               4.     The Division shall document the translator’s name, their language

and dialect, date and duration of the call with the voter calling the toll-free number.

       E.      Translation Panels

               1.     The YTP shall have at least eight members that shall represent a

knowledge, collectively, of all Yup’ik dialects identified in Paragraph III(B)(1). On or about

January 15, 2016, Plaintiffs shall suggest to the Division the names of people qualified to

serve on the YTP, to include the Yup’ik dialects they speak. On or about February 15,

2016, the Division shall appoint the members of the YTP.

               2.      A GTP shall be created with at least three bilingual speakers who

are proficient in performing oral and written translations into Gwich’in. On or about

January 15, 2016, Plaintiffs shall suggest to the Division the names of people qualified to

serve on the GTP. On or about February 15, 2016, the Division shall appoint the members

of the GTP.

               3.     The Division will pay each member of the two Translation Panels

$50-$75 an hour.

       F.      Procedures for Translations

               1.     All translations identified in the Interim Order [Dkt. 226 ¶¶ 3, 7-12,

15] shall:

                      (a)     For Yup’ik, include adjustments for any differences in the

       dialects identified in Paragraph III(B)(1). If minor, they can be done through

       footnotes. If more numerous or substantial adjustments are necessary for a

       particular dialect, they can be done through a separate document for that dialect

       which identifies the dialect. The YTP shall determine whether the dialectical

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       differences are sufficient to warrant using a separate document instead of

       footnotes; and

                       (b)    Be in writing, to facilitate complete, accurate, and uniform oral

       translations.

                2.     Translations of the official ballot, sample ballot, and glossary shall be

completed by a quorum (majority) of the members of each of the two translation panels

described in Paragraph III(E) of this Order. For example, if the YTP has eight members,

at least five members may be used to complete the translations as long as those members

can identify and adjust for the dialectical differences identified in Paragraph III(B)(1). If

the GTP has three members, at least two members may be used to complete the

translations.

                3.     Translations of the pro/con statements, neutral summaries, and

summary of statement of costs may be completed by one translator and shall be verified

by at least one additional translator, as long as the Yup’ik translators can identify and

adjust for the dialectical differences identified in Paragraph III(B)(1).

                4.     Translations of other voting materials and election information shall

be completed by translation panel members to the maximum extent feasible, provided

that all Yup’ik translations are adjusted for the dialectical differences identified in

Paragraph III(B)(1). Whenever feasible, each translation shall be verified by at least one

other translator.

                5.     The Division shall make all reasonable efforts to recruit bilingual

recorders to provide audio of the translations identified in paragraphs 14-15 of the Interim

Order [Dkt. 226] and an audio translation of the glossaries. On or about January 15, 2016,

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Plaintiffs shall suggest to the Division names of people qualified to serve as bilingual

recorders, to include for Yup’ik-speakers the Yup’ik dialects they speak. The Division will

pay a bilingual recorder $50-$75 an hour, will have the bilingual recorder sign an

agreement of their willingness to work, and will give the bilingual recorder a deadline for

each recording. If a bilingual recorder misses the first deadline by more than five days,

the Division will endeavor to replace the bilingual recorder and will have the replacement

bilingual recorder sign an agreement of their willingness to work.

      G.    Bilingual Outreach Workers and Poll Workers, and Language
Assistance Compliance Manager

               1.     The Division shall recruit and retain a full-time employee responsible

for administrating and coordinating all activities necessary for the Division to comply with

Section 203 of the VRA (“Language Assistance Compliance Manager”).

               2.     The Division shall provide Yup’ik language assistance in all villages

in the DCA and WHCA. The Division shall provide Gwich’in language assistance in the

following villages in the YKCA: Arctic Village, Beaver, Birch Creek, Chalkyitsik, Circle,

Fort Yukon, and Venetie.

               3.     In each village, the Division shall provide at least ten hours of

outreach for each election in which there is no pamphlet, and between twenty to thirty

hours of outreach for each election for which there is a pamphlet. Thirty is the maximum

number of hours authorized to be paid to an outreach worker unless the outreach worker

first obtains the Division’s approval.

               4.     In the Division’s initial communication with the tribal councils about



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upcoming election information, the Division shall include a statement that the tribal council

may recommend a bilingual outreach worker or poll worker, and may request at any time

that a bilingual outreach worker or poll worker be replaced.

               5.     The Division will consult with the tribal councils in the DCA, WHCA,

and YKCA and ask that the tribal councils provide the Division with a list of names and

contact information of persons who have been identified by the tribal councils as being

bilingual and literate in English and the covered language/dialect.

               6.     The Division shall secure the written agreement of replacement

bilingual workers. If the replacement bilingual worker fails to agree in writing, the Division

may confirm by telephone the worker has agreed to serve as a bilingual worker, preparing

their confirmation under penalty of perjury.

               7.     If the Division learns that a person scheduled to work as a bilingual

outreach worker has not performed or cannot perform their assigned tasks, where

feasible the Division shall recruit and train a replacement bilingual outreach worker.

       H.      Mandatory Training

               1.     The Division will make all poll workers aware of language assistance

requirements in its regular training sessions.

               2.     Mandatory in-person training. All bilingual election workers are

required to receive the training identified in this Order. If a bilingual outreach worker or

bilingual poll worker fails to attend in-person training, wherever feasible the Division must

reschedule training for that worker or replace that worker who will be scheduled to attend

the next in-person training.



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               3.     Frequency. In-person training shall be done every even-numbered

year and for elections in odd-numbered years in which a special ballot measure appears,

at the time identified in this Order. During odd-numbered years in which there is no special

ballot measure, telephonic training shall be conducted.

               4.     Duration of Bilingual Outreach Worker and Bilingual Poll Worker

Training. Training for bilingual election workers must be for a reasonable amount of time

sufficient to cover the topics in paragraph 5 below. The Division shall make travel

arrangements for those election workers who must travel to the training location that are

sufficient to ensure that all bilingual election workers attend all of the mandatory in-person

training. The Division shall pay for all associated costs of travel, lodging, and per diem.

               5.     Content of language training. Language assistance training shall be

in addition to any training provided for election procedures and Alaska elections law; the

training will focus exclusively on language assistance and practicing available

translations. The Division may schedule this language training to be on a day consecutive

to its more general training provided to all poll workers. The language training shall

adequately cover the following topics:

                      (a)     Summary of language assistance required under the VRA;

                      (b)     Procedures for identifying and assisting voters who may need

       language assistance;

                      (c)     Advising all voters of the availability of translation assistance;

                      (d)     Instructions for providing assistance on voter registration;

                      (e)     Instructions for providing assistance in completion of

       absentee ballot applications or their equivalent (e.g., vote by fax, etc.);

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                      (f)     Special   instructions    for   workers    covering   Permanent

       Absentee Voting (PAV) locations;

                      (g)     Instructions on early voting procedures and schedule;

                      (h)     Instructions for casting a ballot on a voting machine, including

       how to use the audio translation feature;

                      (i)     Instructions on assisting voters who need to cast a challenged

       ballot;

                      (j)     Translations on the content of the OEP available at the time

       of training, which shall be provided to workers in writing in the applicable language

       and dialect as identified in Paragraph III(B);

                      (k)     How to use written translations to provide complete, accurate,

       and uniform translations in the covered language and dialect;

                      (l)     Instructions on how to translate procedural voting materials

       (forms and instructions);

                      (m)     Instructions on conducting informational meetings before the

       election to discuss the ballot and registration and voting procedures;

                      (n)     Practice performing available translations;

                      (o)     Translation of the entire ballot into the language/dialect;

                      (p)     Practicing the translation of the ballot with each translator; and

                      (q)     A checklist summarizing all of the workers’ assigned duties

       under the Order and the expected dates of completion for pre-election and post-

       election activities.

                 6.   Training materials. Training materials provided to bilingual outreach

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workers and poll workers shall facilitate training on all of the topics listed above. Bilingual

workers shall be provided with copies of all written translations available at the time of the

training to use for practice during the training, a training handbook, a checklist of their

assigned duties and expected completion dates, Election Day materials, and any other

materials covering the training topics. Written translations not available at the time of this

training shall be provided by mail to the bilingual worker when they become available.

               7.     Additional in-person training for bilingual poll workers for the General

Election. After all remaining materials for the General Election become available, but

before the General Election, the Division will conduct three in-person training sessions,

one each for the DCA, WHCA, and YKCA, for the bilingual poll workers in those areas.

The training shall cover any voting materials, ballot, ballot measures, pro/con statements,

neutral summaries, bond questions, statements of costs, candidate statements, etc. not

available during the earlier training session. Emphasis will be placed on practicing

translations of ballot measures, ballots, and other information not provided in the initial

training.

               8.     Distance training only to be provided in emergencies. Distance or

phone training shall only be provided in exceptional cases, including if travel is not

possible for any of the mandatory in-person training sessions due to inclement weather

or if a bilingual outreach worker or bilingual poll worker is unable to perform their duties

and there is insufficient time to provide in-person training to a replacement worker.

Distance training must be done at least one (1) day before the election and can be by

conference call. The training must be at least two (2) hours in duration and cover the

topics from the regular training.

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               9.     Documentation of training. Defendants shall maintain records of the

following through the term of this Stipulation and Order:

                      (a)     The training agenda, to include all of the topics listed above;

                      (b)     Training materials disseminated to bilingual workers;

                      (c)     Audiovisual and other materials used during the presentation;

                      (d)     Written role-playing scenarios covered during the training;

                      (e)     Attendance list with the bilingual worker’s printed name and

       village and their signature and sign-in and sign-out times. If one or more bilingual

       workers did not attend the complete training, then the Division must identify that

       act and explain why their partial attendance was unavoidable; and

                      (f)     Documentation of travel provided for training, to include

       Division employees and workers who attended.

               10.    Notice of Training. Defendants shall endeavor to provide notice of all

trainings to bilingual election workers, to include the call-in information for distance

training, at least fifteen days prior to training. If fifteen days’ notice is not possible, notice

shall be given as soon as practicable.

       I.      Mandatory Pre-election Outreach

               1.     Mandatory informational meetings. Pre-election outreach must

include informational meetings. Performance of this requirement by outreach workers

may be through one or more community-wide informational meeting(s), small group

meeting(s), or one-on-one meetings. The informational meetings shall be to register

voters and to cover the following election topics before the election:



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                      (a)     Announce      all   upcoming    election    deadlines   (including

       registration, absentee ballots, etc.);

                      (b)     Announce all upcoming election dates and a summary of what

       will appear on the ballot to include:

                              (i)     Federal, state, or local offices;

                              (ii)    Ballot questions: and

                              (iii)   Bond questions;

                      (c)     Provide an opportunity to register to vote and provide

       language assistance for filling out registration forms;

                      (d)     Explain the absentee ballot application and voting process

       when the applications or ballots are being disseminated or accepted by the State;

                      (e)     Explain the early voting process including dates and locations;

                      (f)     Explain voter identification requirements to include the

       acceptable forms of identification;

                      (g)     Review in the covered language and dialect all of the

       information in the OEP;

                      (h)     Review in the covered language and dialect the sample ballot;

                      (i)     Describe the availability of language assistance before

       Election Day and on Election Day, including the name of the person(s) and dates

       and locations where it will be provided;

                      (j)     For other informational meetings, if any, identify the dates,

       times, and locations for other meetings to discuss the election information and the



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       name of the person(s) to contact if the voters have any questions about the

       meetings;

                      (k)     Provide the name and toll-free number of the person available

       for assistance in their language/dialect; and

                      (l)     Have a question and answer session in the language and

       dialect regarding the election or voting process.

               2.     Mandatory follow-up. At least twenty-five days before an election, the

Division shall follow up with the outreach workers to confirm that they have received the

outreach materials and that they agree that they will perform the outreach in a timely

manner.

       J.      Pre-election and Election Day Publicity

               1.     The Division shall provide publicity that includes all of the

announcements described in the Interim Order [Dkt. 226].

               2.     In addition to the publicity specified in the Interim Order [Dkt. 226],

the following terms will be implemented:

                      (a)     Radio broadcasts. The Division shall request that the

               following radio stations broadcast PSAs, using the language and dialect

               identified in parentheses:

                              (i)     KDLG – Dillingham (Bristol Bay Yup’ik);

                              (ii)    KYUK – Bethel (Central Yup’ik);

                              (iii)   KICY – Nome (Yukon Yup’ik);

                              (iv)    KCUK – Chevak (Hooper Bay/Chevak); and

                              (v)     KZPA – Fort Yukon (Gwich’in).

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                      (b)     Frequency. The Division shall request that beginning at least

               five days before each election and each deadline (e.g., absentee voting,

               voter registration, list maintenance), the radio station make at least three

               announcements a day on weekdays for three days in the language and

               dialect identified above in Paragraph III(J)(2)(a).

                      (c)     Content (in the language and dialect identified above in

               Paragraph III(J)(2)(a)). The following topics shall be included in the PSAs:

                              (i)     Date and time of the next election;

                              (ii)    Opportunities to register to vote and the deadline for

                      registering before the next election;

                              (iii)   Availability of absentee voting and the deadline for

                      submitting an application;

                              (iv)    Early voting dates and the Division’s telephone number

                      to find the voter’s early voting location;

                              (v)     General description of the subject matter of the ballot

                      including if there are federal/state/local offices, bond questions,

                      ballot propositions, etc.;

                              (vi)    Availability of language assistance before Election Day

                      and on Election Day; and

                              (vii)   Toll-free number for language assistance or to find out

                      the name of the bilingual outreach worker in the voter’s village.

                      (d)     List maintenance announcements. The following topics shall

       be included:

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                              (i)       A summary of what list maintenance is and why it is

                      important;

                              (ii)      Steps to take to ensure the voter remains on the active

                      voter list; and

                              (iii)     Toll-free number for language assistance for any

                      questions.

                      (e)     Documentation. The Division shall keep documentation of its

       correspondence with the radio stations, including if it is provided information by the

       radio station that identifies the dates, times, and content of the ads aired.

       K.      Language Assistance for List Maintenance to be provided to Tribal

Councils.

       Within two weeks of when the Division sends list maintenance inactivation notices

to voters it shall provide to tribal councils a written translation in the applicable language

and dialect identified in Paragraph III(B) of the list maintenance radio ad.

       L.      Touch-screen Voting Machines

               1.     Touch-screen voting machines shall be available at all polling places

on Election Day when there are federal races on the ballot. If more than one language

and dialect for a village is identified pursuant to the procedure in Paragraph III(B), then

the audio translation on the touch-screen voting machine shall be provided in one

language and dialect identified by the YTP in consultation with the appropriate tribal

council. Audio translations shall be included in the applicable language and dialect

identified pursuant to Paragraph III(B) for all audio information and instructions provided



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on the machine in English. All poll workers shall be trained on how to use the audio

language assistance available on the machines.

               2.     If placing audio translations on the touch-screen voting machines is

not technologically feasible, the Division will provide the voter with access to the audio

translation in another format and will make available to the voter the translated sample

ballot.

          M.   Sample Ballots and their Use

               1.     The Division shall continue to post on its webpage and to provide

written bilingual sample ballots to tribal councils, outreach workers, and poll workers. The

tribal councils or outreach workers may provide copies of the written bilingual sample

ballots to voters before the election. Voters are free to bring in their marked-up sample

ballot to assist them in casting a ballot on Election Day.

               2.     Written bilingual sample ballots shall be available to voters at the

Division’s four Regional Offices and at the Division’s Mat-Su office.

          N.   Voter Registration

               1.     Voter registration forms. The Division shall ensure that each tribal

council has an adequate supply of voter registration forms and instructions.

               2.     Sign. A sign shall be posted in the applicable language and dialect

identified in Paragraph III(B) in the village identifying the availability of voter registration

forms, language assistance to register, and the name and phone number of the bilingual

registrar, if any. If there is no bilingual registrar, the sign shall provide the Division’s toll-

free number for language assistance.



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       O.      Permanent Absentee Voting (PAV)

               1.     PAV sites in the three census areas must have resident bilingual

workers available during the entire time that absentee voting is occurring with a notice

posted in public places in the applicable language and dialect identified in part III(B)

advertising the name, phone number, location of the bilingual worker and that language

assistance is available. The bilingual worker must be trained in-person and be fully

bilingual and literate in English and the language/dialect spoken in the village.

               2.     No village in the three census areas that is not currently a PAV site

shall be designated as a PAV site without providing the Plaintiffs with at least sixty days’

notice of Defendants’ intention to designate the village as a PAV site.

       P.      Voters Provided Questioned Ballots

       The Division shall provide all voters who vote a questioned ballot instructions on

the questioned ballot process in the applicable language and dialect identified in

Paragraph III(B). Information and notices about the questioned ballot process may be

provided by the bilingual poll worker orally, to include information on how the voter

determines whether their vote was counted via a toll-free number. Language assistance

as described in Paragraph III(D) shall be provided to voters calling the toll-free number.

       Q.      Record-Keeping

       Defendants must maintain all records pertaining to their language assistance

program, consistent with 28 C.F.R. § 55.21. Complete records must be maintained for the

term of this Stipulation and Order to identify the Division’s efforts under it.

       R.      Reporting requirements

               1.     Thirty days before each election, the Division shall inform Plaintiffs if

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they do not believe they will be in compliance with any requirement under this Order.

               2.     Defendants will submit reports and records to the Court, consistent

with the terms of the Order and as previously ordered by the Court [Dkt. 226, ¶¶ 17, 21].

The reports shall cover all of the information required in this Order, identifying by

paragraph all information being reported. These reports shall be provided on the following

schedule:

                      (a)     45 days after each Primary Election;

                      (b)     in odd-numbered years, 60 days after the REAA Election; and

                      (c)     in even-numbered years, 60 days after the General Election

         for the REAA Election and the General Election.

               3.     Plaintiffs will have an opportunity to file a response within 60 days

after Defendants file their report.

IV.      ENFORCEMENT

         A.    The Court may enforce the terms of this Order through contempt

proceedings. See United States v. Sandoval County, 797 F. Supp. 2d 1249, 1254 (D.N.M.

2011).

         B.    If Defendants or the Division do not have the intent or means to comply with

the terms of this Order, Plaintiffs shall have the right to seek such relief as may be

necessary to enforce the terms of this Order. Before seeking such relief from the Court,

Plaintiffs shall notify Defendants, in writing, of Plaintiffs’ understanding or belief that

Defendants lack the intent or means to comply with this Order. Such notice shall specify

any grounds for such understanding or belief.



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V.     AMENDMENTS TO THE ORDER

       A.      Modification. The Court may, either on request of a party or acting sua

sponte, modify one or more of the provisions of this Order if the Court finds that such

modification is necessary to achieve the purposes of the Order or in the interests of

justice.

               1.     Sua Sponte. Before modifying a term sua sponte, the Court will give

the Parties notice and an opportunity to be heard on the issue. The Court will make specific

findings on the record to support any decision to modify a term.

               2.     Upon request of a Party. Pursuant to the “flexible approach” to be

applied to motions to modify a final judgment pursuant to Fed. R. Civ. P. 60(b)(5), the

Court will consider two factors in determining whether a requested modification is

warranted. First, the party seeking modification must establish “a significant change either

in factual conditions or in law” that would “make compliance with the decree substantially

more onerous” or “unworkable because of unforeseen obstacles” or that “enforcement of

the decree without modification would be detrimental to the public interest.” Rufo v.

Inmates of Suffolk County Jail, 502 U.S. 367, 384 (1992). Second, the Court will “consider

whether the proposed modification is suitably tailored to the changed circumstance.” Id.

at 383. The party seeking such a modification must establish a “significant” change in

circumstance, and not merely that “it is no longer convenient” to use the existing term for

which modification is sought. Id. Any proposed modification is limited to resolution of “the

problems created by the change in circumstances. A court should do no more, for a[n

order such as this Order] is a final judgment that may be reopened only to the extent that

equity requires.” Id. at 391.

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       B.      Extension of the term of the Order. This Order shall terminate on

December 31, 2020. Either by agreement between the Parties or pursuant to a

determination by the Court, the term of the Order shall be extended if “time and

experience have demonstrated” that the Order “has failed to accomplish the result” that it

was “specifically designed to achieve.” United States v. United Shoe Mach. Corp., 391

U.S. 244, 249 (1968); see also Holland v. New Jersey Dep’t of Corr., 246 F.3d 267 (3d

Cir. 2001) (collecting citations). Plaintiffs bear the burden of proving that extension is

warranted.

VI.    ATTORNEYS’ FEES AND COSTS UNDER THE ORDER

       A.      The Court’s review and approval of this Order does not alter Plaintiffs’ status

as prevailing parties pursuant to the Court’s partial Decision on Record [Dkt. 223].

       B.      Defendants shall pay Plaintiffs their attorneys’ fees and costs in the amount

of $1,898,695.80 subject to legislative appropriation. The Court has reviewed Plaintiffs’

extensive submissions that detail the fees and expenses incurred [Dkts. 275-280], as well

as the Defendants’ Response to the Notice at Docket 281. The Court finds that the

agreed upon amount for the payment of attorney’s fees and expert fees, and other

litigation expenses are all reasonable. See 52 U.S.C. § 10302(a).

       C.      Plaintiffs may recover their reasonable attorneys’ fees and costs for

postjudgment enforcement of this Order, which includes extending the term of the Order,

monitoring the Order, and other work aimed at compliance. This provision supplements,

but does not replace or modify, the attorneys’ fees and costs to be paid to Plaintiffs

identified above in Paragraph VI(B) of this Order. Any motion for attorneys’ fees shall

comply with D.Ak. L.R. 54.3. Any application for costs shall comply with D.Ak. L.R. 54.1.

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                                            CONCLUSION

               The Court finds that the parties’ proposed stipulated Judgment and Order

is fair, reasonable and equitable and does not violate public policy. See Turtle Island

Restoration Network v. U.S. Dep’t of Commerce, 672 F.3d 1160, 1165 (9th Cir. 2012)

(quoting Sierra Club, Inc. v. Elec. Controls Design, Inc., 909 F.2d 1350, 1355 (9th Cir.

1990)). Therefore, this Stipulated Judgment and Order is entered on this date and

constitutes the Final Judgment in this case.

       DATED this 30th day of September, 2015 at Anchorage, Alaska.

                                                        /s/ Sharon L. Gleason
                                                        UNITED STATES DISTRICT JUDGE




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